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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 At World Properties, LLC, d/b/a              )
 @properties,                                 )
                                              )
                       Plaintiff,             )   Case No. _____________
        v.                                    )
                                              )   Judge ___________________
 Baird & Warner Real Estate, Inc.,            )
                                              )   Magistrate Judge __________
                       Defendant.             )
                                              )   Jury Trial Demanded

             COMPLAINT FOR FALSE AND MISLEADING ADVERTISING

       Now comes Plaintiff, At World Properties, LLC, doing business as @properties,

("@properties") by and through its undersigned attorneys, states as follows in support of its

Complaint against Defendant, Baird & Warner Real Estate, Inc. ("B&W"):

                                    NATURE OF THE ACTION

       1.     @properties brings this action against the defendant as a result of B&W's violation

of the Lanham Act, 15 U.S.C. § 1125(a)(1) and the Illinois Uniform Deceptive Trade Practices

Act, 815 ILCS 510/2.

       2.     All of the claims in this Complaint arise from false and/or misleading claims made

by B&W in its advertising and promotional materials provided to consumers in Illinois and

neighboring states regarding B&W's real estate brokerage services.

       3.     In its advertising and promotional materials, B&W has made false statements that

mislead consumers regarding B&W's services and constitute deceptive trade practices.
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                                   JURISDICTION AND VENUE

          4.      The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§

1331 and 1337 and 15 U.S.C. § 1121(a) because this action arises under the laws of the United

States.

          5.      The Court has supplemental jurisdiction over the state law claim pursuant to 28

U.S.C. § 1367.

          6.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because B&W is a

resident of this District, and a substantial part of the events or omissions at issue in this Complaint

occurred in this District.

                                              PARTIES

          7.      @properties is a residential real estate brokerage company that serves Chicago and

the surrounding counties, Indiana, Michigan, and Wisconsin.

          8.      B&W is an Illinois corporation with its principal place of business in Chicago,

Illinois. B&W is a residential real estate brokerage company that serves Chicago and the

surrounding counties, as well as Wisconsin.

                                    FACTUAL ALLEGATIONS

  I.           BACKGROUND REGARDING THE PARTIES, MRED, AND B&W'S FALSE
                              ADVERTISEMENTS

          9.      @properties and B&W are competitors in the real estate brokerage market in

Chicago, the surrounding counties, and Wisconsin.

          10.     Midwest Real Estate Data ("MRED") is an industry standard real estate data

aggregator and distributor, providing real estate brokers in Chicago and the surrounding counties

with multiple listing service ("MLS") information and statistics.




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       11.     MRED compiles data and statistics on a wide variety of real estate listing and sales

categories for Chicago, Cook County, and several other counties in northern Illinois.

       12.     Real estate brokerage companies use MRED to determine statistics regarding,

among other things, their and other brokerage companies' sales volume, listing volume, and

average sales prices for certain date ranges or geographic areas.

       13.     When a real estate broker searches MRED data, he or she may limit his or search

using one or more categories. For instance, a search of MRED data can be limited:

               a.      to specific cities, counties, ZIP codes, or neighborhoods;

               b.      by type of property, such as detached single-family homes, attached single-

                       family homes, 2-4 unit properties, or mobile homes;

               c.      temporally, such as to a specific month, a specific year, or a date range;

               d.      by listing or sales price of properties

               e.      by properties listed or sold by a specific real estate brokerage company or

                       multiple companies; or

               f.      by whether a property is a newly constructed or previously owned.

       14.     "Chicagoland" is generally recognized in the real estate industry and MRED to

include the City of Chicago, Cook County, and all "collar" counties (such as Lake County, DuPage

County, and Will County).

       15.     B&W advertises in magazines, including an advertisement in the February 11, 2018

and March 13, 2018 electronic mail distributions of Chicago Agent Magazine ("Chicago Agent

Advertisement").

       16.     In addition, B&W's website contains a blog with similar information as that in the

Chicago Agent Advertisement (the "B&W Blog Post").




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       17.     In addition, similar information appears on B&W's social media websites, as well

as several of B&W's brokers' websites and social media sites (the "Internet Advertisements").

       18.     Collectively, the Chicago Agent Advertisement, B&W Blog Post, and Internet

Advertisements are referred to in this Complaint as the "B&W Advertisements."

       19.     Each of the B&W Advertisements contains statements regarding B&W's residential

real estate brokerage business.

       20.     As discussed in more detail below, several of the statements made in the B&W

Advertisements are false and/or misleading.

                  II.     B&W'S FALSE ADVERTISING STATEMENTS

       21.     The Chicago Agent Advertisement was contained in an email distribution from

Chicago Agent Magazine.

       22.     Chicago Agent Magazine is a publisher that describes itself as "Chicagoland's

leading source of local news and information for the well-informed residential real estate

professional. Through its bi-weekly magazine, robust website and events, Chicago Agent provides

its audience – which is composed of Chicagoland's top agents, brokers, real estate developers and

mortgage professionals – with the breaking news and in-depth features that they need to build their

business and stay connected to the community." About, Chicago Agent Magazine, available at

https://chicagoagentmagazine.com/about/ (accessed Feb. 14, 2018).

       23.     The Chicago Agent Advertisement makes several statements regarding B&W's real

estate brokerage services and B&W's position in the real estate brokerage marketplace.

       24.     A copy of the Chicago Agent Advertisement is attached as Exhibit 1.

       25.     The Chicago Agent Advertisement contains several false or misleading statements.




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       26.     The subject line of the e-mail in which the Chicago Agent Advertisement is located

states, "Our 2017 Stats Are Pretty Interesting." The entirety of the e-mail is the Chicago Agent

Advertisement.

       27.     In the Chicago Agent Advertisement, B&W states, in large font, over a photograph

of Chicago's skyline, "IT'S OFFICIAL. WE CRUSHED 2017." [Exhibit 1 (emphasis in original).]

       28.       Below the photograph are two columns that contain several statements each. [Id.]

       29.     At the top of the left column, B&W states, "$8.8 Billion in sales." [Id.]

       30.     There are no qualifications or explanations as to how B&W calculated this number.

Likewise, there is no data source cited. [See id.]

       31.     Directly below the "$8.8 Billion in sales" statement, B&W states, "32,000

transactions." [Id.]

       32.     There are no qualifications or explanations as to how B&W calculated this number.

Likewise, there is no data source cited. [See id.]

       33.     According to MRED data accessed on or about February 14, 2018, for the period

starting January 1, 2017 through December 31, 2017, for all categories of properties in

Chicagoland, B&W's total volume for properties listed and sold was $5,662,167,439, and the total

number of sales for B&W was 17,168.

       34.     The entirety of Chicago Agent Advertisement is a hyperlink, which, if clicked, will

take the user to the B&W Blog Post, which is located on B&W's publicly available website, at

http://www.bairdwarner.com/blog/2018/02/2017-good-us/ (accessed Feb. 15, 2018).

       35.     B&W's website, including the B&W Blog Post, is directed to the public and

consumers. Any person with an internet connection can access B&W's website and the B&W

Blog Post.




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       36.     Upon information and belief, the B&W Blog Post is viewed by real estate

professionals, real estate developers and investors, and potential homebuyers in Illinois,

Wisconsin, and other states.

       37.     A copy of the B&W Blog Post is attached as Exhibit 2.

       38.     The B&W Blog Post is entitled "2017 Has Been Good to Us." [Ex. 2.]

       39.     The B&W Blog Post states, "The $8.8 billion in sales and more than 32,000

transactions we did last year is evidence that our clients and our agents across Chicagoland are

onto something." [Id.]

       40.     As with the Chicago Agent Advertisement, there are no qualifications or

explanations as to how B&W calculated either number in the B&W Blog Post. Likewise, there is

no data source cited for either number. [See id.]

       41.     In addition to the Chicago Agent Advertisement and the B&W Blog Post, the

Internet Advertisements contain posts on publicly accessible websites and social media sites that

contain similar false and misleading statements.

       42.     The Internet Advertisements directed to the public and consumers. Any person

with an internet connection can access the Internet Advertisements.

       43.     Upon information and belief, the Internet Advertisements are viewed by real estate

professionals, real estate developers and investors, and potential homebuyers in Illinois,

Wisconsin, and other states.

       44.     A copy of the Internet Advertisements is attached as Exhibit 3.

       45.     B&W's Facebook page contains a post from February 16, 2018 that states, "2017

has been good to us, from winning Chicago Tribune's Top Workplace in our industry for the sixth

year in a row to doing $8.8 billion in sales. Seems like we're on to something, and we don't plan




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to stop here. http://ow.ly/ZGUo50gwonf #ItsEasierHere." Facebook, Baird & Warner, available

at https://www.facebook.com/bairdwarner/ (accessed Mar. 12, 2018). [Ex 3 at 1.] If a person

clicks on the "http://ow.ly/ZGUo50gwonf" link, he or she will be taken to the B&W Blog Post.

       46.     There are no qualifications or explanations as to how B&W calculated the "$8.8

billion in sales," and there is no data source cited for this number. [See id.]

       47.     The Facebook page for B&W's Oak Park/River Forest office contains a post from

February 12, 2018 that states, "With over $8.8 billion in sales, over 500 new brokers, 3 new offices,

No 1 Top Workplace... the list goes on and on. It's official, we've crushed it in 2017. #bairdwarner

#itseasierhere #joinbw." Facebook, Baird & Warner – Oak Park/River Forest, available at

https://www.facebook.com/bairdwarneroakparkriverforest/ (accessed Mar. 12, 2018). [Ex 3 at 2.]

There are no qualifications or explanations as to how B&W calculated the "over $8.8 billion in

sales," and there is no data source cited for this number. [See id.]

       48.     The Instagram page for B&W's Oak Park/River Forest office contains a post from

February 13, 2018 that contains the photographic advertisement contained in the Chicago Agent

Advertisement, which states, "$8.8 Billion in sales" and "32,000 transactions." Instagram, Baird

&         Warner          –        Oak         Park/River          Forest,        available        at

https://www.instagram.com/p/BfJjMfuDEl7/?taken-at=37577374 (accessed Mar. 12, 2018). [Ex

3 at 3.] There are no qualifications or explanations as to how B&W calculated either number, and

there is no data source cited for either number. [See id.]

       49.     In addition, several of B&W's real estate brokers have indicated on their websites

or social media accounts that B&W had "$8.8 billion in sales" and/or "more than 32,000

transactions," and/or they provide links to the B&W Blog Post. See Lisa Kon, "2017 Has Been

Good To Us!," LinkedIn, available at https://www.linkedin.com/pulse/2017-has-been-good-us-




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lisa-kon/ (Feb. 12, 2018; accessed Mar. 12, 2018) [Ex 3 at 4-5.]; Anne Rossley, "We crushed it!,"

available at http://www.annerossleyrealestate.com/anne-rossley-2017-success/ (Feb. 18, 2018;

accessed Mar. 12, 2018) [Ex 3 at 6-11.]; Facebook, Brie DiMucci – Baird & Warner, available at

https://www.facebook.com/breedimuccibairdwarner/ (accessed Mar. 12, 2018) (February 16, 2018

post sharing B&W's Facebook post discussed above in Paragraph 45) [Ex 3 at 12.]. As with the

other B&W Advertisements, there are no qualifications or explanations as to how B&W calculated

either number, and there is no data source cited for either number. [Ex 3 at 4-12.]

                                            COUNT I

                      False Advertising in Violation of the Lanham Act
                                   15 U.S.C. § 1125(a)(1)

       50.     Plaintiff incorporates the allegations in paragraphs 1-49 above into this paragraph.

       51.     B&W is a "person" as that term is defined by 15 U.S.C. § 1127.

       52.     The B&W Advertisements are false or misleading.

       53.     The B&W Advertisements are likely to deceive consumers.

       54.     The statements in the B&W Advertisements are material in that they will affect

consumers' decision regarding which real estate brokerage company to choose.

       55.     The statements in the B&W Advertisements are material in that they will affect the

choices of potential employees deciding whether to apply for employment at B&W or @properties.

       56.     The B&W Advertisements entered interstate commerce.

       57.     The B&W Advertisements are likely to injure @properties because the false or

misleading statements in the B&W Advertisements are likely to divert potential @properties

clients to B&W and likely to divert potential employees of @properties to B&W.

       58.     @properties does not have an adequate remedy at law for the false or misleading

statements made in the B&W Advertisements.



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        59.     Given the availability of MRED's statistics and data to B&W, B&W made the false

or misleading statements in the B&W Advertisements knowingly and willfully.

        WHEREFORE, Plaintiff, At World Properties, LLC, respectfully requests that this Court

enter judgment and order in its favor and against Defendant, Baird & Warner Real Estate, Inc.:

                a.       Permanently enjoining and restraining Defendant, its agents, subsidiaries,

affiliates, representatives, employees, officers, and directors from publishing or distributing the

B&W Advertisements;

                b.       Permanently enjoining and restraining Defendant, its agents, subsidiaries,

affiliates, representatives, employees, officers, and directors from falsely advertising regarding

B&W, B&W's services, or B&W's competitors;

                c.       Requiring Defendant to destroy all remaining copies of the B&W

Advertisements;

                d.       Requiring Defendant to publish a retraction of the false or misleading

statements made in the B&W Advertisements;

                e.       Awarding damages to Plaintiff in an amount to be determined at trial; and

                f.       Awarding Plaintiff its costs and attorneys' fees.

                                              COUNT II

         False Advertising in violation of the Illinois Uniform Deceptive Trade Practices Act
                                        815 ILCS 510/2

        60.     Plaintiff incorporates the allegations in paragraphs 1-59 above into this paragraph.

        61.     B&W is a "person" as defined by 815 ILCS 510/1(5).

        62.     The B&W Advertisements were prepared in the course of B&W's business.

        63.     The B&W Advertisements were made in Illinois and are directed at consumers in

the State of Illinois.



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        64.     The B&W Advertisements contain false or misleading statements.

        65.     The B&W Advertisements represent that B&W's real estate brokerage services

have characteristics, benefits, and quantities that they do not have.

        66.     The B&W Advertisements represent that B&W's real estate brokerage services are

of a particular standard, quality, or grade that they are, in fact, not.

        67.     The B&W Advertisements create a likelihood of confusion or misunderstanding.

        68.     The B&W Advertisements are likely to injure @properties because the false or

misleading statements in the B&W Advertisements are likely to divert potential @properties

clients to B&W and likely to divert potential employees of @properties to B&W.

        69.     @properties does not have an adequate remedy at law for the false or misleading

statements made in the B&W Advertisements.

        70.     Given the availability of MRED's statistics and data to B&W, B&W made the false

or misleading statements in the B&W Advertisements knowingly and willfully.

        WHEREFORE, Plaintiff, At World Properties, LLC, respectfully requests that this Court

enter judgment and order in its favor and against Defendant, Baird & Warner Real Estate, Inc.:

                a.      Permanently enjoining and restraining Defendant, its agents, subsidiaries,

affiliates, representatives, employees, officers, and directors from publishing or distributing the

B&W Advertisements;

                b.      Permanently enjoining and restraining Defendant, its agents, subsidiaries,

affiliates, representatives, employees, officers, and directors from falsely advertising regarding

B&W, B&W's services, or B&W's competitors;

                c.      Requiring Defendant to destroy all remaining copies of the B&W

Advertisements;




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                    d.   Requiring Defendant to publish a retraction of the false or misleading

statements made in the B&W Advertisements; and

                    e.   Awarding Plaintiff its costs and attorneys' fees.

                                           JURY DEMAND

         Plaintiff demands a trial by jury on all issues in this case.

 Date: March 19, 2018                               Respectfully submitted,

                                                    AT WORLD PROPERTIES, LLC

                                                    By:     /s/ Aaron H. Stanton
                                                              One of its attorneys
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